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                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF OHIO
                                  CANTON DIVISION

 In Re:                                            Case No. 17-61785-rk

 Steven W. Troyer                                  Chapter 13

 Debtor.                                           Judge Russ Kendig

                                 CERTIFICATE OF SERVICE

I certify that on September 12, 2022, a true and correct copy of this Response to Notice of Final
Cure Payment was served:

Via the Court’s ECF System on these entities and individuals who are listed on the Court’s
Electronic Mail Notice List:

          David A. Mucklow, Debtor’s Counsel
          Davidamucklow@yahoo.com

          Dynele L. Schinker-kuharich, Trustee
          dlsk@chapter13canton.com

          Office of the U.S. Trustee
          (registeredaddress)@usdoj.gov

And by regular U.S. Mail, postage pre-paid on:

          Steven W. Troyer, Debtor
          118 Darla Drive
          Creston, OH 44217
                                                   Respectfully Submitted,

                                                   /s/ Molly Slutsky Simons
                                                   Molly Slutsky Simons (0083702)
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